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 8
                                  IN THE UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 1:05-CR-00112-DAD-4

12                                  Plaintiff,           ORDER DISMISSING DEFENDANT FROM
                                                         INDICTMENT (FED.R.CRIM.P 48(A))
13                           v.

14   MARTIN GARCIA,

15                                  Defendant.

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17            The United States of America, having moved this Court to dismiss the indictment as to above-

18 named defendant only pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, without

19 prejudice and in the interest of justice and good cause appearing;

20            IT IS HEREBY ORDERED that the indictment as to the above named defendant only shall be

21 dismissed without prejudice in the interest of justice.

22            IT IS FURTHER ORDERED that the Clerk of the Court close this case and recall the warrant

23 previously issued for the above named defendant.

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     IT IS SO ORDERED.
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     Dated:     June 21, 2016
                                                       UNITED STATES DISTRICT JUDGE
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     ORDER OF DISMISSAL, FRCrimP 48(a)                   1
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